
990 So.2d 1173 (2008)
The STATE of Florida, Appellant,
v.
Julio PERDOMO, Appellee.
No. 3D07-2348.
District Court of Appeal of Florida, Third District.
September 10, 2008.
Bill McCollum, Attorney General, and Juliet S. Fattel and Nicholas Merlin, Assistant Attorneys General, for appellant.
Bennett H. Brummer, Public Defender, and Howard K. Blumberg, Assistant Public Defender, for appellee.
Before GERSTEN, C.J., and ROTHENBERG, J., and SCHWARTZ, Senior Judge.
ROTHENBERG, Judge.
The State of Florida ("the State") appeals from a probation order issued pursuant to a nolo contendere plea entered by the defendant, Julio Perdomo. We affirm.
The State contends that its one-time, general objection to the trial court's offered plea was sufficient to inform the trial court that it erred in failing to impose restitution in the probation order. We disagree.
"An issue is preserved for appeal if the attorney's articulated concern is sufficiently specific to inform the court of the alleged error." State v. Paulk, 813 So.2d 152, 154 (Fla. 3d DCA 2002). In the instant case, it is impossible to construe the State's objection as taking issue with the probation order's failure to provide for victim restitution, and therefore, we hold that the State failed to preserve the issue for appellate review.
Affirmed.
